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       ORDERED in the Southern District of Florida on May 16, 2011.



                                                                Robert A. Mark, Judge
                                                           United States Bankruptcy Court
_____________________________________________________________________________


                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION


                                          )
                                          )
        In re                             )      CASE NO. 10-26989-BKC-RAM
                                          )      CHAPTER 7
        HARVEY HERNANDEZ,                 )
                                          )
                                          )
                                          )
                         Debtor.          )
                                          )
                                          )
        VANESSA HERNANDEZ-DOLAN,          )
                                          )
                                          )
                         Plaintiff,       )
                                          )
        vs.                               )      ADV. NO. 10-3606-RAM-A
                                          )
        HARVEY HERNANDEZ,                 )
                                          )
                         Defendant.       )
                                          )


                                DEFAULT FINAL JUDGMENT

                Upon review of the Plaintiff’s Motion for Default and Final
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Judgment Against Defendant, Harvey Hernandez, (“Motion for Default

Judgment”) [DE# 29], upon review of the Complaint [DE# 1] and

noting that the Clerk has entered a Clerk’s Default for failure of

the Defendant to respond to the Complaint [DE# 31], it is -

     ORDERED AND ADJUDGED as follows:

     1.   The Motion for Default Judgment is granted.

     2.   Final   Default     Judgment    is   entered     in   favor   of   the

Plaintiff, Vanessa Hernandez-Dolan and against the Defendant,

Harvey Hernandez.

     3.   All debts owed by the Defendant to the Plaintiff pursuant

to the Final Judgment, Agreement, and any subsequent modifications

or amendments approved or ordered by the state court judge in the

dissolution action of the parties, Case No. 04-23562-FC-12 (the

“State Court Case”) are excepted from discharge in the Defendant’s

bankruptcy case pursuant to 11 U.S.C. §523(a)(5).

     4.   This Court defers to the State Court to determine the

total amount owed by the Defendant to Plaintiff and to enforce the

Defendant’s obligations to Plaintiff.          This Default Final Judgment

simply determines that all of the obligations arising out of the

State Court Case are excepted from discharge and therefore fully

enforceable, notwithstanding the filing of Defendant’s Chapter 7

case, and the general discharge which may be issued in the Chapter

7 case.

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